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     HIROYUKI KODAMA
 7
                        UNITED STATES DISTRICT COURT
 8
                       CENTRAL DISTRICT OF CALIFORNIA
 9
                               WESTERN DIVISION
10
11
     UNITED STATES OF AMERICA, NO. CR 20-624 FMO
12
          Plaintiff,                     HIROYUKI KODAMA’S POSITION
13                                       ON SENTENCING; EXHIBITS
          v.
14                                       Sentencing Date: June 17, 2021
     HIROYUKI KODAMA,
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          Defendant.
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 1                               I. INTRODUCTION
 2        Hiroyuki Kodama appears for sentencing after pleading guilty to
 3   Count One of the Information, charging him with bank fraud. In the plea
 4   agreement, Mr. Kodama admitted to depositing checks payable to his
 5   employer, Mutual Trading, into an unauthorized bank account created for
 6   this purpose. While this terrible decision took on momentum and continued
 7   for years, Mr. Kodama ultimately acknowledged his misconduct and worked
 8   to make amends, even selling his home to repay Mutual Trading. Now, he is
 9   focused on his family, as a full-time caregiver for his grandchildren. The
10   United States Probation and Pretrial Services Office (“USPO”) has
11   recommended a sentence of 24 months. (Dkt. 26, Recommendation Letter.)
12   Given Mr. Kodama’s acceptance of responsibility, diligent efforts to repay
13   the victim, lack of criminal history, and the high risk of severe illness from
14   imprisonment during the ongoing COVID-19 pandemic, a sentence of one
15   day of prison followed by a period of supervised release would be sufficient
16   but not greater than necessary to accomplish the goals of sentencing.
17
18                    II. THE APPROPRIATE SENTENCE
19   A.   Mr. Kodama’s prompt acceptance of responsibility,
20        remorse, and efforts to make amends justify a below-
21        Guidelines sentence.
22        Mr. Kodama admits his wrongful conduct; he deeply and sincerely
23   regrets his crime. (Ex. A.) When confronted by Mutual Trading, Mr.
24   Kodama promptly acknowledged his misconduct—before any criminal
25   investigation was underway. He entered a civil settlement, agreeing to take
26   substantial steps to make amends to the company. He sold his home and
27   used the proceeds to pay over half a million dollars of the judgment. He
28   transferred his Mutual Trading stock holdings, valued at $85,000, back to
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 1   the company. As a result of these efforts, he ultimately repaid almost
 2   $672,000 to Mutual Trading, as the Government acknowledges. (Dkt. 29,
 3   Gov. Pos. Paper at 6.) The balance remaining on the civil judgment is the
 4   result of Mr. Kodama’s inability to pay, rather than any unwillingness. He
 5   and his wife now live with their son, relying on their social security benefits
 6   and the income from an annuity account. When he is able, he hopes to get a
 7   job, possibly as a tour guide for Japanese tourists, to continue his efforts to
 8   repay Mutual Trading. (Ex. A.)
 9        Similarly, when approached by law enforcement, Mr. Kodama was
10   cooperative and honest, acknowledging his responsibility and remorse in his
11   initial interview. He since entered a pre-charge agreement to plead guilty.
12   (Dkt. 6, Plea Agreement.)
13   B.   Mr. Kodama provides help and support to his family, who
14        depend on him.
15        Mr. Kodama is dedicated to his family and plays a key role for them.
16   He and his wife, Nobuko, care for their twin two-year-old grandchildren,
17   Avery and Jordon, so that both parents can work. They also do the grocery
18   shopping and cook for the family. (Ex. B, C, E.) But Nobuko often also
19   requires his care: she is a breast cancer survivor and also suffers
20   hyperthyroidism that sometimes leaves her bed-ridden. (Ex. B.) Thus Mr.
21   Kodama sometimes cares for both the twin toddlers and his wife. The
22   essential role that Mr. Kodama plays for his wife, son, and granddaughters
23   further justifies a sentence below that recommended by Probation and
24   sought by the Government. See USSG § 5H1.6 (below-Guidelines sentence
25   may be appropriate when a longer sentence will cause a “specific loss of
26   essential caretaking. . . to the defendant’s family”).
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 1   C.   A sentence of one day in prison followed by supervised
 2        release is sufficient due to the particular risk posed by
 3        COVID-19 to Mr. Kodama.
 4        The risk of severe illness or even death that Mr. Kodama in particular
 5   would face in prison is another reason that a lengthy sentence of
 6   imprisonment would be more harsh than necessary to promote the goals of
 7   sentencing.
 8        “Factors like inescapably close quarters, constant turnover, and high
 9   rates of people with preexisting health conditions make prisons and jails
10   ideal settings for contagion.”1 In the United States, rates of infection with
11   COVID-19 are about three times higher among people who are incarcerated
12   than the general public. 2 Federal prisons have not been immune. The
13   disease spread rapidly through federal facilities; at least 39% of federal
14   prisoners are known to have been infected. 3
15        Mr. Kodama is 67 years old and will turn 68 just days after his
16   sentencing. His age puts him at particular risk of severe illness or death if
17   he catches COVID-19. Indeed, 80% of reported COVID deaths in the United
18   States have been in adults 65 and older. According to the Centers for
19   Disease Control and Prevention, someone in Mr. Kodama’s age group is 130
20   times more likely to die if infected than someone in their 20s.4 Under the
21
22        1  Emma Grey Ellis, The Struggle to Vaccinate People in Jails and
23   Prisons, Wired, March 17, 2021, available at
     https://www.wired.com/story/covid-19-prisons-vaccines/ (last visited Apr. 26,
24   2021).
           2 See Incarcerated and Infected: How the Virus Tore Through the U.S.
25   Prison System, N.Y. Times, Apr. 10, 2020, available at
     https://www.nytimes.com/interactive/2021/04/10/us/covid-prison-
26   outbreak.html (last visited Apr. 26, 2021).
           3 Id.
27
           4 Centers for Disease Control and Prevention, COVID-19: Older
28   Adults, available at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
     precautions/older-adults.html (last visited Apr. 26, 2021).
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 1   current circumstances, Mr. Kodama’s age and health conditions justify a
 2   sentence below the advisory guidelines.
 3        Mr. Kodama also has health conditions that put him at additional
 4   risk. He has longstanding high blood pressure (Ex. D), which can increase
 5   the odds of getting severely ill from COVID-19.5 Finally, Mr. Kodama also
 6   has a history of smoking (Ex. D), which the CDC also recognizes can make
 7   someone more likely to get severely ill from COVID-19.6
 8        Although Mr. Kodama has been vaccinated, this precaution does not
 9   eliminate the risk that incarceration would pose to him. As the pandemic
10   continues, variants of the COVID-19 virus continue to emerge; indeed,
11   carceral environments provide an “ideal environment” for viral mutations.7
12   The efficacy of existing vaccines to prevent illness from variants is not clear,
13   but some studies suggest reduced efficacy.8 Moreover, immunity to COVID-
14   19 (from infection or vaccination) is temporary and potentially brief. While
15   current studies are optimistic (showing effectiveness against some variants
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19        5  Centers for Disease Control and Prevention, COVID-19: People with
20   Medical Conditions, available at https://www.cdc.gov/coronavirus/2019-
     ncov/need-extra-precautions/people-with-medical-conditions.html (last
21   visited Apr. 26, 2021).
           6 Id.
22         7 Benjamin A. Barsky, J.D., M.B.E., Eric Reinhart, B.A., Paul Farmer,

23   M.D., Ph.D., and Salmaan Keshavjee, M.D., Ph.D, Vaccination plus
     Decarceration — Stopping Covid-19 in Jails and Prisons, New England
24   Journal of Medicine (Apr. 29, 2021), available at
     https://www.nejm.org/doi/full/10.1056/NEJMp2100609#article_references
25   (last visited June 7, 2021).
           8 Harvey, W.T., Carabelli, A.M., Jackson, B. et al., SARS-CoV-2
26   variants, spike mutations and immune escape. Nat Rev Microbiol (2021).
     available at https://doi.org/10.1038/s41579-021-00573-0 (last visited June 7,
27   2021) (“Spike amino acid substitutions and deletions that impact
     neutralizing antibodies are present at significant frequencies in the global
28   virus population, and there is emerging evidence of variants exhibiting
     resistance to antibody-mediated immunity elicited by vaccines.”).
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 1   continuing through six months)9, the CDC continues to put it simply: “We
 2   don’t know how long protection lasts for those who are vaccinated.”10
 3   D.    The sentences proposed by the Government and
 4         recommended by Probation are longer than necessary to
 5         achieve the goals of sentencing.
 6         Non-custodial sentences like probation and supervised release
 7   nonetheless impose “several standard conditions that substantially restrict
 8   [defendants’] liberty.” Gall v. U.S., 552 U.S. 38, 48 (2007). Compliance with
 9   these strict requirements will reflect a substantial punishment, particularly
10   for a first-time offender.
11         Nor is a more substantial prison sentence necessary to promote the
12   other goals of sentencing. Mr. Kodama has no criminal history and he has
13   been law abiding in the years since the scheme was discovered. The fraud
14   that Mr. Kodama committed was aberrant behavior. The U.S. Sentencing
15   Commission has recognized that offenders with zero criminal history points
16   have a lower recidivism rate than those with one or more points.11 The
17   Commission also recognizes that as a general matter older offenders are
18   less likely to recidivate than younger ones.12 The Government likewise
19   recognizes Mr. Kodama’s “low likelihood of recidivism.” (Dkt. 29, Gov. Pos.
20
21         9 How Long Does Immunity from COVID-19 Vaccination Last?,
     Healthline, Apr. 4, 2021, available at https://www.healthline.com/health-
22   news/how-long-does-immunity-from-covid-19-vaccination-last#Protection-
     lasts-for-at-least-6-months,-likely-longer.
23         10 How Long Does Protection from a COVID-19 Vaccination Last?,
     CDC Frequently Asked Questions about COVID-19 Vaccination, CDC, Mar.
24   12, 2021, available at https://www.cdc.gov/coronavirus/2019-
     ncov/vaccines/faq.html.
25         11 Kyckelhahn, Tracey & Cooper, Trishia, U.S. Sentencing Comm’n,

26   The Past Predicts the Future: Criminal History and Recidivism of Federal
     Offenders, 6–9 (March 2017).
27         12 Hunt, Kim & Easley, Billy, U.S. Sentencing Comm’n, The Effects of
     Aging on Recidivism Among Federal Offenders, (Dec. 2017) (“The
28   Commission found that older offenders are substantially less likely to
     recidivate following release compared to younger cohorts.”).
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 1   Paper at 11.) For an older individual without any criminal history, a
 2   sentence of one day in prison followed by supervised release is sufficient to
 3   deter further criminal activity and promote respect for the law.
 4
 5                  III. THE PRESENTENCE REPORT AND
 6              THE ADVISORY SENTENCING GUIDELINES
 7   A.   The Advisory Guidelines Calculation
 8        In the Presentence Investigation Report (“PSR”), the USPO has
 9   determined that the offense level under the advisory Sentencing Guidelines
10   is 22 and the criminal history category is I, resulting in an advisory
11   guidelines range of 41 to 51 months and supervised release for a period of 2
12   to 5 years. (PSR at 3.) The USPO recommends a variance from the advisory
13   range resulting in a sentence of 24 months. (Dkt. 26, Recommendation
14   Letter at 1-2.) Mr. Kodama does not object to the USPO’s calculation of the
15   offense level or advisory guidelines range, but submits that a below-
16   guidelines sentence is appropriate in light of the factors discussed above.
17   B.   Conditions of Supervised Release
18        In its recommendation letter, the USPO also recommended several
19   conditions for Mr. Kodama’s supervised release. Mr. Kodama objects to
20   recommended condition 4, which provides that “[t]he defendant shall not be
21   employed in any capacity wherein the defendant has custody, control, or
22   management of the defendant’s employer’s funds.” (Dkt. 26,
23   Recommendation letter at 2.) This condition is overbroad. As phrased, it
24   could bar a wide range of entry-level positions that would require making
25   change, including work as a store clerk or as a tour guide, as he hopes to do.
26   A condition requiring that Mr. Kodama’s employment be approved by his
27   supervising officer would be sufficient to ensure that any position he
28   obtains is appropriate.
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 1        Finally, Mr. Kodama requests that his supervision be transferred to
 2   the District of Colorado. He resides in Denver with his family and has been
 3   supervised there throughout the proceeding. He hopes to remain there
 4   throughout any period of supervised release.
 5
 6                              IV. CONCLUSION
 7        Mr. Kodama respectfully requests that the Court impose a sentence of
 8   one day of imprisonment followed by an appropriate period of supervised
 9   release.
10
11                                     Respectfully submitted,
12                                    CUAUHTEMOC ORTEGA
                                      Federal Public Defender
13   DATED: June 7, 2021           By /s/ Emily J.M. Groendyke
14                                    EMILY J.M. GROENDYKE
                                      Deputy Federal Public Defender
15                                     Attorneys for Defendant
16                                     HIROYUKI KODAMA

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                     EXHIBIT
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                     EXHIBIT
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          Case 2:20-cr-00624-FMO Document 29 Filed 06/07/21 Page 15 of 21 Page ID #:145




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                                                                        Ex. B - 6
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                     EXHIBIT
                        C
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     The Honorable Fernando M.Olguin
     United States District Judge
     United States Courthouse
     Courtroom 6D
                          111
     350 W. First. Street, 6 Floor
     Los Angeles, California 90012



               My name is Kentaro Jason Kodama, currently living in Denver, Colorado. I work in a
     restaurant called Matsubisa as a sushi chef. I have been working at this restaurant since we opened
     in 2016. Mr. Kodama is my father so I have known him all my life. Mr. Kodama has committed a
     crime that he has accepted full responsibility for. My father is a quiet and reserved person. He's
     not very talkative but he's genuinely kind and thoughtful. He was born and raised in Japan in a
     small port town called Ibusuki. He moved to the United States in his early 20's with my mother.
      He studied at San Diego State University and at University of Nebraska. My father was pretty
     active in his younger days and would play baseball and golf. He would watch college football
     every Saturday and the NFL on Sundays. His favorite team is the former San Diego Chargers, now
     the Los Angeles Chargers. Growing up, my father was very caring but also stern. He taught me
     how to play sports and other life lessons. Since he was brought up in Japan, the relationship we had
     is a little different from an American father and son. We didn't talk as much as a normal father and
     son would. It probably had to do with both us of being introverts and in the Japanese culture the
     father was always the strict, non-talkative type. I was very surprised when I found out that my
     father committed a crime. He was always a by the book, very responsible person. He's never
     committed a crime in the past and the only thing he got in trouble for was a speeding violation. My
     father is very regretful and ashamed by the crime he committed. He has always been very
     unemotional but when he told me about the crime, he was in tears and very depressed. I have
     noticed in the Japanese culture, when one commits a crime or does something shameful to the
     family, their first thought is suicide. My father was no different He began to tell me he was
     contemplating on committing suicide. It got to the point where it started affecting my mother as
     well. She now wanted to commit suicide and my sister and I had to talk them out of it I believe
     the only saving grace for him was that my wife and I were pregnant with twins at the time. He was
     in a very dark place and the only light he saw was my two little girls was about to be born. For the
     past 2 years, my father has helped take care of my daughters when my wife and I are at work. With
     my mother, they would go to the grocery store or the playground and help keep them entertained
     every day. Unfortunately, because of Covid, they had to stay indoors for the majority of last year.
       Once all this is over and he finishes his sentence, my father wants to watch my daughters grow for
      a couple more years and then I believe he wants to move back to Japan. He just wants to live a
      quiet life in his home country. My father is not innocent by no means but I would like to believe
     that he deserves some leniency. He is not a bad person and unfortunately because of one big stupid
      mistake, everything that he achieved and worked for is gone. At the very least, he has learned from
      this mistake and he will never commit a crime ever again. Thank you for taking the time to read
      this letter.



     Regards, Kentaro Jason Kodama




                                                                                                            Ex. C - 7
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                   EXHIBIT D
                  SUBMITTED
                  UNDER SEAL
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                     EXHIBIT
                        E
Case 2:20-cr-00624-FMO Document 29 Filed 06/07/21 Page 21 of 21 Page ID #:151




                                                                  Ex. E - 10
